Case 9:03-cv-80295-DMM

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AO 440 (Rev. 10/2002) Sumuioiis in a

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Civil Case (Reverse) OS- BQQAGaAY Onn
| RETURN OF SERVICE
- Service of the Summons and Complaint was made by me! DATE 22 Ai rar
NAME OFSERVER (PRINT) Hy oy = EDC cic TH Sue TLE PReceteS Co Rone
Check one box below to indicate appropriate method of service

 

 

G__ Served personally upon the defendant. Place where served: “(eho PHoenrx Houser Se ar TASES
(SCAND, thAMP TON Couey 2 Veta A Ge And

 

G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable
age and discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

Gs Returned unexecuted:

 

 

 

 

 

 

 

 

 

 

oo Oo ‘
oo 1. tw ot
G Other (specify): ce To XK
oS SB)
STATEMENT OF SERVICE FEES = m=
TRAVEL SERVICES TOTAL cle TT
DECLARATION OF SERVER “

 

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on 23 Ae UTS 2

Date

RAW

Signature of Server

THR? Ou CE
Address of Server

 

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As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
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Sof

UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: Q o ™ 3U 2 9 5
C1IV-MIDDLEBROOKS

EMARKETERSAMERICA.ORG, INC., MAGISTRATE JUDGE
A Florida Non Profit Corporation, JOHNSON
Plaintiff,

VS.

THE SPAMHAUS PROJECT d/b/a
SPAMHAUS.ORG, et. al.,

Defendants.
/

 

SUMMONS IN A CIVIL CASKygp 7 Arai 2oO%
BERVED SW Sern

 

TO: THE SPAMHAUS PROJECT d/b/a

 

 

SPAMHAUS.ORG DATE 22402003 TIME _Gy~
STEVEN LINFORD, OWNER ps Tow Fame Ser | WR
The Phoenix (Print / Sign Name)

Taggs Island CERTIFIED IN THE CIRCUIT COURT 06
Hampton Court __NUDICIAL CIRCUIT CERT. #

United Kingdom TW12 2HA
YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY,

FELSTEIN & ASSOCIATES, P.A.
Attomeys for EMarketersAmerica.org, Inc.
555 South Federal Highway, Suite 450
Boca Raton, Florida 33432
(561) 367-7990 Phone
(561) 367-7980 Facsimile

an answer to the complaint which is herewith served upon you, within twenty (20) days after
service of this summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You must also file
your answer with the Clerk of this Court within a reasonable period of time after service.

Clarence Maddox APR 4 m003 .
DATE

 

 

CLERK |
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(BY) DEPUTY CLERK

 

Naa
